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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            WESTERN DIVISION


UNITED STATES OF AMERICA

                                    CIVIL ACTION NO. 5:10-cv-13(DCB)
                                        CRIMINAL NO. 5:07-cr-17(DCB)

CHARLES EDWARD PRICE                                              DEFENDANT


                                 ORDER

     This cause is before the Court on the defendant Charles Edward

Price’s Motion for Clarification (docket entry 386) of this Court’s

Opinion and Order of February 17, 2012 (docket entry 347).               The

defendant seeks clarification of the Court’s ruling on his motion

to reduce his fine.     The Court found that the defendant was not

entitled to a reduction in the amount of his fine.             Further, the

court found that inability to pay a fine while in custody is not

grounds for reduction of the fine because the defendant can pay his

fine during his period of supervised release.         Opinion and Order,

pp. 2-3.   Accordingly,

     IT IS HEREBY ORDERED that the defendant Charles Edward Price’s

Motion for Clarification (docket entry 386) of this Court’s Opinion

and Order of February 17, 2012 (docket entry 347) is GRANTED as set

forth above.

     SO ORDERED, this the 30th day of October, 2013.



                                         /s/ David Bramlette
                                         UNITED STATES DISTRICT JUDGE
